Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 1of34 PagelD#: 2

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Chase Ossinger, a Special Agent with Homeland Security Investigations, being duly sworn,
depose and state as follows:

INTRODUCTION
1. I have been employed as a Special Agent (“SA”) of U.S. Department of Homeland
Security, Homeland Security Investigations (“HSI”), smce 2009, and am currently assigned to
HSI Bangor, Maine. While employed by HSI, I have investigated federal criminal violations
related to high technology or cybercrime, child exploitation, and child pornography. I have
gained experience through training at the Federal Law Enforcement Training Center (FLETC)
and everyday work relating to conducting these types of investigations. | have received training
in the area of child pornography and child exploitation and have had the opportunity to observe
and review numerous examples of child pornography (as defined in 18 U.S.C. § 2256) [have
been the case agent on child exploitation cases that have resulted in arrests, prosecution, and
convictions for possession, distribution, and production of child pornography. Moreover, I am a
federal law enforcement officer who is engaged in enforcing the criminal laws, including 18
U.S.C. §§ 2251, 2252, and 2252A, and | am authorized by law to request a search warrant.
2, This Affidavit is submitted in support of an application under Rule 41 of the Federal
Rules of Criminal Procedure for a search warrant for the locations specifically described in
Attachment A of this Affidavit, including the entire property located at 291 Old Brunswick Rd.,
Gardiner, Maine 04345 (the “SUBJECT PREMISES”), the content of electronic storage devices
located therein, and any person located at the SUBJECT PREMISES, for contraband and
evidence, fruits, and instrumentalities of violations of 18 U.S.C. 2252A, which items are more

specifically described in Attachment B of this Affidavit.
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 2o0f34 PagelD#: 3

3. The statements contained in this affidavit are based in part on information provided by
U.S. federai law enforcement agents; written reports about this and other investigations that |
have received, directly or indirectly, from other law enforcement agents, including foreign law
enforcement agencies, information gathered from the service of administrative subpoenas; the
results of surveillance conducted by law enforcement agents; independent investigation and
analysis by law enforcement agents/analysts and computer forensic professionals; and my
experience, training and background as a Special Agent. This Affidavit sets forth facts I believe
establish probable cause to conclude that contraband and evidence, fruits, and instrumentalities
of violations of 18 U.S.C. § 2252A(a\(5)(B) and (b)(2) (possession of and access with intent to
view child pornography) are presently located at the SUBJECT PREMISES,

STATUTORY AUTHORITY
4, As noted above, this mvestigation concerms alleged violations of the following:

a. 18 U.S.C. § 2252A(a)(5)(B) and (b)(2) prohibit a person from knowingly
possessing or knowingly accessing with intent to view, or attempting or conspiring to do so, any
material that contains an image of child pornography, as defined in 18 U.S.C. § 2256(8), that has
been mailed, or shipped or transported using any means or facility of interstate or foreign
commerce, or in or affecting interstate or foreign commerce, by any means, including by
computer, or that was produced using materials that have been mailed or shipped or transported
in or affecting interstate or foreign commerce by any means, including by computer.

DEFINITIONS
5. The following definitions apply to this Affidavit and Attachment B:
a. “Bulletin Board” means an Internet-based website that is either secured

(accessible with a password) or unsecured and provides members with the ability to view

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 3of34 PagelID# 4

postings by other members and make postings themselves. Postings can contain text messages,
still images, video images, or web addresses that direct other members to specific content the
poster wishes. Bulletin boards are also referred to as “internet forums” or “message boards.” A
“post” or “posting” is a single message posted by a user. Users of a bulletin board may post
messages in reply to a post. A message “thread,” often labeled a “topic,” refers to a linked series
of posts and reply messages. Message threads or topics often contain a title, which is generally
selected by the user who posted the first message of the thread. Bulletin boards often also
provide the ability for members to communicate on a one-to-one basis through “private
messages.” Private messages are similar to e-mail messages that are sent between two members
of a bulletin board. They are accessible only by the users who sent/received such a message, or
by the bulletin board administrator.

b. “Chat,” as used herein, refers to any kind of text communication over the Internet
that is transmitted in real-time from sender to receiver. Chat messages are generally short in
order to enable other participants to respond quickly and in a format that resembles an oral
conversation. This feature distinguishes chatting from other text-based online communications
such as Internet forums and email.

c. “Chat room,” as used herein, refers to the ability of individuals te meet in one
location on the Internet in order to communicate electronically in real-time to other individuals.
Individuais may also have the ability to transmit electronic files to other individuals within the
chat room.

d. “Child erotica,” as used herein, means materials or items that are sexually
arousing to persons having a sexual interest in minors but that are not necessarily obscene or do

not necessarily depict minors engaging in sexually explicit conduct.

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 4of34 PagelD#:5

e. “Child pornography,” as defined in 18 U.S.C. § 2256(8), is any visual depiction,
including any photograph, film, video, picture, or computer or computer-generated image or
picture, whether made or produced by electronic, mechanical or other means, of sexually explicit
conduct, where (a) the production of the visual depiction involved the use of a minor engaged in
sexually explicit conduct, (b) the visual depiction is a digital image, computer image, or
computer-generated image that is, or is indistinguishable from, that of a minor engaged in
sexually explicit conduct, or (c) the visual depiction has been created, adapted, or modified to
appear that an identifiable minor is engaged in sexually explicit conduct.

f. “Cloud storage,” as used herein, is a form of digital data storage in which the
digital data is stored on remote servers hosted by a third party (as opposed to, for example, on a
user’s computer or other local storage device) and is made available to users over a network,
typically the Internet.

g. “Computer,” as used herein, refers to “an electronic, magnetic, optical,
electrochemical, or other high speed data processing device performing logical or storage
functions, and includes any data storage facility or communications facility directly related to or
operating in conjunction with such device” and includes smartphones, other mobile phones, and
other mobile devices. See 18 U.S.C. § 1030(e)(1).

h. “Computer hardware,” as used herein, consists of ali equipment that can receive,
capture, collect, analyze, create, display, convert, store, conceal, or transmit electronic, magnetic,
or similar computer impulses or data. Computer hardware includes any data-processing devices
(including central processing units, internal and peripheral storage devices such as fixed disks,
external hard drives, “thumb,” “jump,” or “flash” drives, which are small devices that are

plugged into a port on the computer, and other memory storage devices); peripheral input/output

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 5of34 PagelD#: 6

devices (including keyboards, printers, video display monitors, and related communications
devices such as cables and connections); as well as any devices, mechanisms, or parts that can be
used to restrict access to computer hardware (including physical keys and locks).

i. “Computer passwords and data security devices,” as used herein, consist of
information or items designed to restrict access to or hide computer software, documentation, or
data. Data security devices may consist of hardware, software, or other programming code. A
password (a string of alpha-numeric characters) usually operates what might be termed a digital
key to “unlock” particular data security devices. Data security hardware may include encryption
devices, chips, and circuit boards. Data security software may include programming code that
creates “test” keys or “hot” keys, which perform certain pre-set security functions when touched.
Data security software or code may also encrypt, compress, hide, or “booby-trap” protected data
to make it inaccessible or unusable, as well as reverse the process to restore it.

j. The “Domain Name System” or “DNS” is system that translates readable Internet
domain names such as www.justice.gov into the numerical IP addresses of the computer server
that hosts the website.

k. “Encryption” is the process of converting data into a code in order to prevent
unauthorized access to the data.

L. A “hidden service,” also known as an “onion service,” is website or other web
service that is accessible only to users operating within the Tor anonymity network.

m. “Hyperlink” refers to an item on a web page which, when selected, transfers the
user directly to another location in a hypertext document or to some other web page.

n. The “Internet” is a global network of computers and other electronic devices that

communicate with each other, Due to the structure of the Internet, connections between devices

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 6of34 PagelD#: 7

on the Internet often cross state and international borders, even when the devices communicating
with each other are in the same state.

QO. “Internet Service Providers” (“ISPs”), as used herein, are commercial
organizations that are in business to provide individuals and businesses access to the Internet.
ISPs provide a range of functions for their customers including access to the Internet, web
hosting, email, remote storage, and co-location of computers and other communications
equipment.

p. An “Internet Protocol address” or “IP address,” as used herein, refers to a unique
numeric or alphanumeric string used by a computer or other digital device to access the Internet.
Every computer or device accessing the Internet must be assigned an IP address so that Internet
traffic sent from and directed to that computer or device may be directed properly from its source
to its destination. Most Internet Service Providers (“ISPs”) control a range of IP addresses. IP
addresses can be “dynamic,” meaning that the ISP assigns a different unique number to a
computer or device every time it accesses the Internet. IP addresses might also be “static,” if an
ISP assigns a user’s computer a particular IP address that is used each time the computer
accesses the Internet. ISPs typically maintain logs of the subscribers to whom IP addresses are
assigned on particular dates and times.

q. “Minor,” as defined in 18 U.S.C. § 2256(1), refers to any person under the age of
eighteen years.

r “Records,” “documents,” and “materials,” as used herein, include all information
recorded in any form, visual or aural, and by any means, whether in handmade, photographic,

mechanical, electrical, electronic, or magnetic form.

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 7of34 PagelD#: 8

S. “Remote computing service,” as defined in 18 U.S.C. § 2711(2), is the provision
to the public of computer storage or processing services by means of an electronic
communications system.

t. “Sexually explicit conduct,” as defined in 18 U.S.C. § 2256(2), means actual or
simulated (a) sexual intercourse, including genital-genital, oral-genital, anal-genital, or oral-anal,
whether between persons of the same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic
or masochistic abuse; or (e) lascivious exhibition of the anus, genitals, or pubic area of any
person.

u. A “storage medium” is any physical object upon which computer data can be
recorded. Examples include hard disks, RAM, floppy disks, “thumb,” “jump,” or “flash” drives,
CD-ROMs, and other magnetic or optical media.

v. The “Tor network” is a computer network available to Internet users that is
designed specifically to facilitate anonymous communication over the Internet. The Tor network
attempts to do this by routing Tor user communications through a globally distributed network of
relay computers, along a randomly assigned path known as a “circuit.”

w. “URL” is an abbreviation for Uniform Resource Locator and is another name for
a web address. URLs are made of letters, numbers, and other symbols in a standard form.
People use them on computers by clicking a pre-prepared link or typing or copying and pasting
one into a web browser to make the computer fetch and show some specific resource (usually a
web page) from another computer (web server) on the Internet.

Xx. “Visual depiction,” as defined in 18 U.S.C. § 2256(5), includes undeveloped film

and videotape, data stored on computer disc or other electronic means which is capable of

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 8 of 34 PagelD#:9

conversion into a visual image, and data which is capable of conversion into a visual image that
has been transmitted by any means, whether or not stored in a permanent format.

y- A “Website” consists of textual pages of information and associated graphic
images. The textual information is stored in a specific format known as Hyper-Text Mark-up
Language (HTML) and is transmitted from web servers to various web clients via Hyper-Text
Transport Protocol (HTTP).

BACKGROUND OF THE INVESTIGATION AND PROBABLE CAUSE
6. A user of the Internet account at the SUBJECT PREMISES has been linked to an online
community of individuals who regularly send and receive child pornography via a hidden service
website that operated on the Tor anonymity network. The website is described below and
referred to herein as the “TARGET WEBSITE.”! There is probable cause to believe that a user
of the Internet account at the SUBJECT PREMISES accessed the TARGET WEBSITE, as
further described herein.

The Tor Network

7, The Internet is a global network of computers and other devices. Devices directly
connected to the Internet are uniquely identified by IP addresses, which are used to route
information between Internet-connected devices. Generally, when one device requests
information from a second device, the requesting device specifies its own IP address so that the
responding device knows where to send its response. On the Internet, data transferred between

devices is split into discrete packets, each of which has two parts: a header with non-content

 

' The name of the TARGET WEBSITE is known to law enforcement. Investigation into the
users of the website remains ongoing and disclosure of the name of the website would potentially
alert active website users to the investigation, potentially provoking users to notify other users of
law enforcement action, flee, and/or destroy evidence.

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page9of34 PagelD#: 10

routing and control information, such as the packet’s source and destination IP addresses; and a
payload, which generally contains user data or the content of a communication.

8. The website further described below operated on the Tor network, which is a computer
network available to Internet users that is designed specifically to facilitate anonymous
communication over the Internet. The Tor network attempts to do this by routing Tor user
communications through a globally distributed network of relay computers, along a randomly
assigned path known as a “circuit.” Because of the way the Tor network routes communications
through the relay computers, traditional IP address-based identification techniques are not
effective.

9. To access the Tor network, a user must install Tor software. That is most easily done by
downloading the free “Tor browser” from the Tor Project, the private entity that maintains the
Tor network, via their website at www.torproject.org.” The Tor browser is a web browser that is
configured to route a user’s Internet traffic through the Tor network.

10. As with other Internet communications, a Tor user’s communications are split into
packets containing header information and a payload and are routed using IP addresses. In order
for a Tor user’s communications to be routed through the Tor network, a Tor user necessarily
(and voluntarily) shares the user’s IP address with Tor network relay computers, which are called
“nodes.” This routing information is stored in the header portion of the packet. As the packets
travel through the Tor network, each node is able to see the address information of the previous
node the communication came from and the next node the information should be sent to. Those
Tor nodes are operated by volunteers -- individuals or entities who have donated computers or

computing power to the Tor network in order for it to operate.

 

2 Tor users may also choose to manually configure a web browser or other application to route
communications through the Tor network.
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 100f34 PagelD#: 11

il. Tor may be used to access open-Internet websites like www justice.gov. Because a Tor
user’s communications are routed through multiple nodes before reaching their destination, when
a Tor user accesses such an Internet website, only the IP address of the last relay computer (the
“exit node”), as opposed to the Tor user’s actual IP address, appears on that website’s IP address
log. In addition, the content of a Tor user’s communications are encrypted while the
communication passes through the Tor network. That can prevent the operator of a Tor node
from observing the content (but not the routing information) of other Tor users’ communications.
12. The Tor Project maintains a publicly available frequently asked questions (FAQ) page,
accessible from its website, with information about the Tor network. Within those FAQ, the Tor
Project advises Tor users that the first Tor relay to which a user connects can see the Tor user’s
actual IP address. In addition, the FAQ also cautions Tor users that the use of the Tor network
does not render a user’s communications totally anonymous. For example, in the Tor Project’s
FAQ, the question “So I'm totally anonymous if | use Tor?” is asked, to which the response is, in
bold text, “No.”

13. The Tor Network also makes it possible for users to operate or access websites that are
accessible only to users operating within the Tor network. Such websites are called “hidden
services” or “onion services.” They operate in a manner that attempts to conceal the true IP
address of the computer hosting the website. Like other websites, hidden services are hosted on
computer servers that communicate through [P addresses, However, hidden services have
unique technical features that attempt to conceal the computer server’s location.

14. Unlike standard Internet websites, a Tor-based web address is comprised of a series of
either 16 or 56 algorithm-generated characters, for example “asdik8fs9dfiku7f,” followed by the

suffix “onion.” Ordinarily, investigators can determine the IP address of the computer server

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 11o0f34 PagelD#: 12

hosting a website (such as www.justice.gov) by simply looking it up on a publicly available
Domain Name System (“DNS”) listing. Unlike ordinary Internet websites, however, there is no
publicly available DNS listing through which one can query the IP address of a computer server
that hosts a Tor hidden service. So, while law enforcement agents can often view and access
hidden services that are facilitating illegal activity, they cannot determine the IP address of a Tor
hidden service computer server via public lookups. Additionally, as with all Tor
communications, communications between users’ computers and a Tor hidden service webserver
are routed through a series of intermediary computers. Accordingly, neither law enforcement
nor hidden-service users can use public lookups or ordinary investigative means to determine the
true IP address — and therefore the location — of a computer server that hosts a hidden service.
Description of TARGET WEBSITE
15. |The TARGET WEBSITE is an active online chat site whose primary purpose is to share
and distribute child pornography. The advertisement and distribution of child pornography and
child erotica are regular occurrences on this site. The TARGET WEBSITE started operating in
approximately 2018.

On the front page of the site, it states that the site is intended for users to “post links with
good photos and videos” depicting “[o]nly BOYS 5 to 13 years [old].” The site allows users to
engage in online chat with other users, either within chat rooms that were openly accessible to
any user of the site, within rooms only accessible to particular users, or in one-to-one chats
between two users. Child pornography images and videos are trafficked through this chat site
via the posting of web links within chat messages. Links allow a user to navigate to another
website, such as a file-hosting website, where images and/or videos were stored in order to

download these image and videos. The TARGET WEBSITE provides its users with information
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 12o0f34 PagelD#: 13

about particular file hosting websites where users could upload digital files so that the files could
then be shared, via links, with other users on the TARGET WEBSITE.

Entry to the site is obtained through free registration, as described below. On the
registration page, it reads, among other things, “No hurtcore, No gore, No zoo, No death, No
toddlers.” In my training and experience, “zoo” refers to pornography depicting bestiality, and
“hurtcore” is a genre of child pornography that depicts violence, gore, torture, humiliation, or
children in pain and distress. In addition, the registration page of the TARGET WEBSITE
expressly encouraged the sharing of videos between members. Language on that page reads
“Post links with good photos and videos (preview is required!).”

In order to pass through the registration page and gain access to the actual content of the
TARGET WEBSITE, a prospective user must create a “Nickname” and a password which must
be entered along with a Captcha, A “Captcha” is a randomly generated series of characters
designed to ensure that users of a website are human beings and not bots or other automated
processes. Users are not required to enter any personally identifiable information, such as true
names, emails or phone numbers. The users may also pick a color for their posts (or one was
randomly generated) and click “enter chat.”

Upon initially creating a user account on the TARGET WEBSITE, a user is assigned the
status of “Guest.” As an unregistered user, the user receives the following message upon log in:
“You may check our rules by sending to me word rules. There also will be some additional
explanation of how to use this feature. Do not reply this message. It is robot. News! We added
features of forum. Access by button at the bottom or just by this link: forum. Unregistered users
is able to write there too. Note that any content what you post less than 5yo or more than 13 yo

will cause kick out of your retarted ass.”

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 13 0f34 PagelD#: 14

In order to fully register an account, the user would need to obtain a promotion from
“Guest” to “Registered Guest,” which is done at the discretion of TARGET WEBSITE staff.
After an individual is promoted to a registered user account on the TARGET WEBSITE, a user
must log in to that user account with the appropriate user-generated password in order to
communicate via that user account on the TARGET WEBSITE. TARGET WEBSITE users may
register, log into and access the TARGET WEBSITE through that user account using any
computer or electronic device that is configured to use Tor routing/software. Unregistered or
“Guest” users could access TARGET WEBSITE postings including postings that shared child
pornography images.

As is common on these types of sites, the TARGET WEBSITE was administered and
moderated by select TARGET WEBSITE users referred to as “Members” on this site. These
users are promoted at the discretion of the site leadership. Promotions appeared to be made
based on an individual’s active participation on the site. Once promoted to a Member position,
those users enforced the rules and assisted in the management of the site. This included
controlling user membership using the “ban” and “kick” functions (which can limit or eliminate
a user’s participation or account), promoting within the ranks of users, and moderating the public
chatroom for content and user behavior.

TARGET WEBSITE Members periodically re-posted standard messages to the public
chatroom of the TARGET WEBSITE iterating rules and procedures of the TARGET WEBSITE.
For example, on or about May 8, 2019, a Member posted “SECURITY INFORMATION” in the
public chatroom. This post contained statements in both Russian and English which included but
was not limited to the following:

- Set the Security Slider to HIGH Security Level

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 14o0f34 PagelD#: 15

- Do Not Download if you are not using Encryption or Tails OS

- Read these manuals: > Tails Guide & Tor Security Guide €

Do Not Share any Identifying Information & NEVER Trust Anybody!

Windows & OS X/MacOS are not safe for On topic?

Save files only to Encrypted Storage

Windows Leaves traces you cannot clean without a Full disk wipe

Linux offers Full Disk Encryption, Tails is Amnesic

use VeraCrypt to create Hidden Encrypted Containers

Open files when Offline to lower risk of malicious file causing trouble

LEA & Antis are known to pose as parents and kids to trick you into revealing

information to them, suspect everyone is LEA.

LEA could be running this or any site at any time

Always be conscious your messages may not be private

Be Careful Paying for Anything, Bitcoin is not Anonymous by default!

The TARGET WEBSITE provides users with numerous links to image hosts where users
can upload their digital images. For instance, on November 2, 2018, a TARGET WEBSITE user
posted a hyperlink of a .jpeg file that linked to an image of a prepubescent boy being anally
penetrated by an adult mafe’s erect penis from behind. Also, on April 1, 2019, a TARGET
WEBSITE user posted a hyperlink to a .jpg image depicting a nude prepubescent male sitting on
a nude adult male’s lap. The image only shows the males from the neck down. The adult male
appears to be masturbating and is ejaculating or has ejaculated. The prepubescent male’s erect

penis is within inches of the adult male’s erect penis. The adult male’s right hand is around the

 

+ Based on my training an experience, | am aware that “on topic” in this context refers to the
advertisement, distribution and discussion of child pornography.
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 15o0f34 PagelD #: 16

adult male’s penis while his left hand is slid under the prepubescent male’s buttocks. On May
29, 2019, a TARGET WEBSITE user posted a hyperlink to a jpg image depicting a nude
prepubescent boy standing next to a nude adult male, The prepubescent male has his hand
around the nude adult male’s erect penis while the prepubescent stares into the camera with an
erection, ‘The adult male is only visible from the neck down.

Postings to the TARGET WEBSITE that were publicly available to any registered user at
the time of posting were captured and archived for law enforcement review. Over 1,400,000
messages were posted on the TARGET WEBSITE between March 2018 and July 2020, FBI
Special Agents have accessed and downloaded child pornography files via links that were posted
on TARGET WEBSITE, in an undercover capacity.

FLA described the website as facilitating “the sharing of child sexual abuse and
exploitation material, stipulating only boys aged 5— 13. Users were required to enter a username
and password but these were only valid for that single login session” and provided further
documentation naming the website as the TARGET WEBSITE, which the FLA referred to by its
actual name.

16. ‘In addition, postings to the TARGET WEBSITE that were publicly available to any
registered user of the TARGET WEBSITE were captured and archived for law enforcement
review. Review of such postings disclosed the following posts by TARGET WEBSITE users:

a. File “twiba5j7005¢4kj5.onion (1).jpeg” depicts a naked prepubescent male,
approximately four to six years old, sitting on a sofa and looking up at the camera. An erect,
adult, penis is inserted in the mouth of the prepubescent male. (attached as Exhibit 1).

b, File “twiba5j7005g4kj5.onion (6).jpeg” depicts a naked prepubescent male,

approximately seven to ten years old, kneeling between the legs of an adult male who is lying on

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 16o0f34 PagelD#: 17

abed. The erect penis of the adult male is inserted in the mouth of the prepubescent male.
(attached as Exhibit 2).

c. File “twiba5j7005g4kj5.onion (7).jpeg” depicts a naked prepubescent male,
approximately 4-6 years old, laying on a blanket on the floor. The prepubescent male is holding
both legs, spread in the air, displaying his anus and genitals to the camera. (attached as Exhibit
3).

Evidence Related to Identification of Target that Accessed TARGET WEBSITE
17. Jam aware that U.S. as well as foreign law enforcement agencies investigate anonymous
offenders engaging in online child sexual exploitation via Tor hidden service websites such as
the website(s) described herein. Those websites are globally accessible. The websites and their
users may therefore be located anywhere in the world. Due to the anonymity provided by the
Tor network, it can be difficult or impossible to determine, at the beginning of an investigation,
where in the world a particular website or user is located. Accordingly, when a law enforcement
agency obtains evidence that such a website or website user may be located in another country, it
is common practice for that law enforcement agency to share information with a law
enforcement agency in the country where the website is located or the offender appears to reside,
in accordance with each country’s laws.
18. In August 2019, a foreign law enforcement agency (referenced herein as “FLA”) known
to the FBI and with a history of providing reliable, accurate information in the past, notified the
FBI that FLA determined that on May 17, 2019, [IP address 74.65.161.34 “was used to access
online child sexual abuse and exploitation material” via a website that the FLA named and

described as the TARGET WEBSITE.

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 17of34 PagelD#: 18

19. FLA is a national law enforcement agency of a country with an established rule of law.
There is a long history of U.S. law enforcement sharing criminal investigative information with
FLA and FLA sharing criminal investigative information with U.S. law enforcement, across
disciplines and including the investigation of crimes against children. FLA advised U.S, law
enforcement that it obtained that information through independent investigation that was
lawfully authorized in FLA’s country pursuant to its national laws. FLA further advised U.S.
law enforcement that FLA had not interfered with, accessed, searched or seized any data from
any computer in the United States in order to obtain that IP address information. U.S. law
enforcement personnel did not participate in the investigative work through which FLA
identified the IP address information provided by FLA.

20. {1 am aware through my training and experience and consultation with other U.S. law
enforcement agents that tips provided by FLA regarding IP addresses that FLA advised were
associated with access to Tor network child exploitation-related web and chat sites have: (1) led
to the identification and arrest of a U.S.-based child pornography producer and hands-on
offender, and the identification and rescue of multipie U.S. children subject to that offender’s
ongoing abuse; (2) led to the seizure of evidence of child pornography trafficking and
possession; and (3) been determined through further investigation to be related to targets that
U.S. law enforcement investigation had independently determined were associated with child
pornography trafficking and possession.

21. As described herein, the TARGET WEBSITE could not generally be accessed through
the traditional internet. Only a user who had installed the appropriate Tor software on the user’s
computer could access the “TARGET WEBSITE.” Even after connecting to the Tor network,

however, a user would have to find the 16-or-56-character web address of the TARGET

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 18o0f34 PagelD#: 19

WEBSITE in order to access it. Hidden service websites on the Tor Network are not “indexed”
by search engines—such as Google—to anywhere near the same degree as websites that operate
on the open Internet. Accordingly, it is much more difficult to perform a Google-type search of
hidden service websites than it is to search open Internet websites for particular content of
interest. Users interested in accessing child exploitation material (or in advertising child
exploitation and pornography websites they operate) therefore keep, maintain and use directory
sites that advertise the web addresses of hidden services that contain child exploitation related
content. Those directory sites also operate via the Tor network. Users utilize those directory
sites to identify new web forums, chat sites, image galleries and file hosts pertaining to the
sexual exploitation of children. Such directory sites often identify whether particular sites are
then operating, whether child pornography imagery may be found there, and even what types of
child pornography are accessible (i.e., boys, girls, or “hurtcore”), They also contain clickable
hyperlinks to access those sites. As with other hidden service websites, a user must find the 16-
or 56-character web address for a directory website in order to access it. While it operated, the
web address for the website described herein was listed on one or more of such directory sites
advertising hidden services dedicated to the sexual exploitation of children.

22. Accordingly, based on my training and experience and the information articulated herein,
because accessing the TARGET WEBSITE required numerous affirmative steps by the user — to
include downloading Tor software, accessing the Tor network, finding the web address for
TARGET WEBSITE, and then connecting to TARGET WEBSITE via Tor — it is extremely
unlikely that any user could simply stumble upon TARGET WEBSITE without understanding its

purpose and content.

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 19 of 34 PagelD#: 20

23. Accordingly, I submit that there is probable cause to believe that, for all of the reasons
described herein, any user who accessed the TARGET WEBSITE has, at a minimum, knowingly
accessed the TARGET WEBSITE with intent to view child pornography, or attempted to do so.
Identification of SUBJECT PREMISES
24. According to publicly available information, IP address 74.65,161.34, which was used to
access the TARGET WEBSITE on May 17, 2019, was registered to Charter Communications,
lnc.
25. On November 19, 2019, a subpoena was issued to Charter Communications, Inc. in
regard to the pertinent IP address. A review of the results obtained on December 26, 2019
identified the following account holder and address, which is the address of the SUBJECT
PREMISES: Subscriber Name: Bradley Danforth; Subscriber Address: 291 Old Brunswick Rd.,
Gardiner Maine 04345; Phone: 207-740-4472; Email Address: bdanforth1955@roadrunner.com.
26. A search of a public records database that provides names, dates of birth, addresses,
associates, telephone numbers, email addresses, and other information was conducted for
Bradley Danforth. These public records indicated that Danforth’s current address is 291 Old
Brunswick Road, Gardiner, ME, the SUBJECT PREMISES. These checks also revealed that
Danforth’s spouse, Kendra Gero/Danforth (DOB in 1960), and an individual named Arnold
Danforth (DOB in 1951) are also associated with the SUBJECT PREMESIS. Further checks on
Kendra Gero/Danforth revealed that her car is registered at 19 Cedar Street in Gardiner, ME and
her Maine driver’s license lists her address as PO Box 755 in Gardiner, ME.
27. | Acheck of the National Law Enforcement Telecommunications System (NLETS) on or
about June 17, 2020 revealed that an individual named Bradley Danforth with a date of birth in

1955, has a valid Maine driver’s license and resides at the SUBJECT PREMISES. NLETS and

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 20 0f 34 PagelD#: 21

CLEAR also reveal that Bradley Danforth has a Green 2001 Nissan Frontier with Maine license
plate 6A 8648 and a red 2007 Yamaha xv1700 motorcycle with Maine license plate 43EM
registered in his name at the SUBJECT PREMISES.

28. A query of the National Crime Information Center (NCIC), through NLETS, conducted
on or about June 20, 2020 determined that Bradley Danforth has no known criminal record.

29, A search of the CLEAR information database (a public records database that provides
names, dates of birth, addresses, associates, telephone numbers, email addresses, etc.) for records
associated with the Bradley Danforth was conducted on or about June 20, 2020, and the
following information was revealed: Bradley Danforth purchased SUBJECT PREMISES on
December 28, 2011. The deed transfer information states that SUBJECT PREMISES is a single-
family residence-townhouse. The deed transfer information also states that Bradley Danforth is
the sole owner of the SUBJECT PREMISES. CLEAR lists 207-740-4472 as a phone number for
Bradley Danforth, which corroborates the information received in the November 19, 2019
subpoena to Charter Communications, Inc,

30. CLEAR also lists the SUBJECT PREMISES as the most recent address for Arnold
Danforth, and shows that Arnold Danforth owns a Silver 2001 Oldsmobile Alero that is
registered at the SUBJECT PREMISES, A check of NLETS for Arnold Danforth reveals that he
has a Maine driver’s license that expired on February 2, 2020, with the address of 14 Friendship
Lane in Farmingdale, Maine. NLETS also confirmed that the Oldsmobile Alero is registered to
Arnold Danforth at the SUBJECT PREMISES and has Maine license plate 3059SJ with an
expiration date of April 30, 2021. A query of the NCIC, through NLETS, conducted on or about
August 31, 2020 determined that Arnold Danforth had a Maine state arrest for public indecency

in 1991, but that charge was dismissed after a court finding was filed.

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 21 0f34 PagelD#: 22

30. Surveillance of the SUBJECT PREMISES on August 18, 2020 revealed that the
residence is a grey one-story house with a grey roof and green trim. The house has an
unattached garage located near the main residence. The SUBJECT PREMISES has two
driveways, one that connects to Old Brunswick Road and one that connects to Brunswick
Avenue, also known as Route 201,

31, On August 18, 2020, I used a smart phone wireless device in an effort to gain additional
information regarding any potential wireless networks at the SUBJECT PREMISES. Positioned
on the shoulder of Old Brunswick Road and then on the shoulder of Brunswick Avenue, directly
in front of the SUBJECT PREMISES, I noted that there were multiple wireless networks in the
area, but all of them were secured. Accordingly, to use any of them to access the Internet, a user
would likely have to know the encryption key or password for that particular network. Based on
the signal strength of the wireless networks, as well as my training and experience and
information relayed to me by agents, I believe that the wireless router at the SUBJECT
PREMISES is likely generating a secured wireless network. As explained above, I know, from
my training and experience and information relayed to me by agents, that wireless routers for
both secured and unsecured wireless networks may yield significant evidence of, or serve as
instrumentalities of, a crime.

32, A check of open source information from the Internet, such as Facebook and LinkedIn,

regarding Bradley Danforth and Arnold Danforth revealed nothing.

BACKGROUND ON CHILD PORNOGRAPHY, COMPUTERS, AND THE INTERNET

33. have had both training and experience in the investigation of computer-related crimes.

Based on my training, experience, and knowledge, | know the following:

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 22 of 34 PagelD #: 23

a. Computers and digital technology are the primary way in which individuals
interested in child pornography interact with each other. Computers basically serve four
functions in connection with child pornography: production, communication, distribution, and
storage.

b. Digital cameras and smartphones with cameras save photographs or videos as a
digital file that can be directly transferred to a computer by connecting the camera or smartphone
to the computer, using a cable or via wireless connections such as “WiFi” or “Bluetooth.”
Photos and videos taken on a digital camera or smartphone may be stored on a removable
memory card in the camera or smartphone. These memory cards are often large enough to store
thousands of high-resolution photographs or videos.

c. A device known as a modem allows any computer to connect to another computer
through the use of telephone, cable, or wireless connection. Mobile devices such as smartphones
and tablet computers may also connect to other computers via wireless connections. Electronic
contact can be made to literally millions of computers around the world. Child pornography can
therefore be easily, inexpensively and anonymously (through electronic communications)
produced, distributed, and received by anyone with access to a computer or smartphone.

d, The computer’s ability to store images in digital form makes the computer itself
an ideal repository for child pornography. Electronic storage media of various types - to include
computer hard drives, external hard drives, CDs, DVDs, and “thumb,” “jump,” or “flash” drives,
which are very small devices that are plugged into a port on the computer - can store thousands
of images or videos at very high resolution. It is extremely easy for an individual to take a photo
or a video with a digital camera or camera-bearing smartphone, upload that photo or video to a

computer, and then copy it (or any other files on the computer) to any one of those media storage

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 23 0f 34 PagelD#: 24

devices. Some media storage devices can easily be concealed and carried on an individual’s
person. Smartphones and/or mobile phones are also often carried on an individual’s person.

e. The Internet affords individuals several different venues for obtaining, viewing,
and trading child pornography in a relatively secure and anonymous fashion.

f Individuals also use online resources to retrieve and store child pornography.
Some online services allow a user to set up an account with a remote computing service that may
provide email services and/or electronic storage of computer files in any variety of formats. A
user can set up an online storage account (sometimes referred to as “cloud” storage) from any
computer or smartphone with access to the Internet. Even in cases where online storage is used,
however, evidence of child pornography can be found on the user’s computer, smartphone, or
external media in most cases.

g. A growing phenomenon related to smartphones and other mobile computing
devices is the use of mobile applications, also referred to as “apps.” Apps consist of software
downloaded onto mobile devices that enable users to perform a variety of tasks — such as
engaging in online chat, sharing digital files, reading a book, or playing a game — on a mobile
device. Individuals commonly use such apps to receive, store, distribute, and advertise child
pornography, to interact directly with other like-minded offenders or with potential minor
victims, and to access cloud-storage services where child pornography may be stored.

h. As is the case with most digital technology, communications by way of computer
can be saved or stored on the computer used for these purposes. Storing this information can be
intentional (i.¢., by saving an email as a file on the computer or saving the location of one’s
favorite websites in, for example, “bookmarked” files} or unintentional. Digital information,

such as the traces of the path of an electronic communication, may also be automatically stored

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 24 0f34 PagelD#: 25

in many places (e.g., temporary files or ISP client software, among others). In addition to
electronic communications, a computer user’s Internet activities generally leave traces or
“footprints” in the web cache and history files of the browser used. Such information is often
maintained indefinitely until overwritten by other data.

CHARACTERISTICS COMMON TO INDIVIDUALS WHO ACCESS WITH INTENT
TO VIEW CHILD PORNOGRAPHY

34. Based on my previous investigative experience related to child exploitation
investigations, and the training and experience of other law enforcement officers with whom I
have had discussions, | know there are certain characteristics common to individuals who access
online child sexual abuse and expioitation material via a website:

a. Such individuals may receive sexual gratification, stimulation, and satisfaction
from contact with children, or from fantasies they may have viewing chiidren engaged in sexual
activity or in sexually suggestive poses, such as in person, in photographs, or other visual media,
or from literature describing such activity.

b, Such individuals may collect sexually explicit or suggestive materials in a variety
of media, including photographs, magazines, motion pictures, videotapes, books, slides and/or
drawings or other visual media. Individuals who have a sexual interest in children or images of
children oftentimes use these materials for their own sexual arousal and gratification. Further,
they may use these materials to lower the inhibitions of children they are attempting to seduce, to
arouse the selected child partner, or to demonstrate the desired sexual acts.

C. Such individuals almost always possess and maintain child pornographic material
in the privacy and security of their home or some other secure location. Individuals who have a
sexual interest in children or images of children typically retain those materials and child erotica

for many years.

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 25 of 34 PagelD #: 26

d. Likewise, such individuals often maintain their child pornography images ina
digital or electronic format in a safe, secure and private environment, such as a computer and
surrounding area. These child pornography images are often maintained for several years and
are kept close by, usually at the possessor’s residence, inside the possessor’s vehicle, or, at times,
on their person, or in cloud-based online storage, to enable the individual to view the child
pornography images, which are valued highly. Some of these individuals also have been found
to download, view, and then delete child pornography on their computers or digital devices on a
cyclical and repetitive basis.

e. Importantly, evidence of such activity, including deleted child pornography, often
can be located on these individuals’ computers and digital devices through the use of forensic
tools. Indeed, the very nature of electronic storage means that evidence of the crime is often still
discoverable for extended periods of time even after the individual “deleted” it.

f. Such individuals also may correspond with and/or meet others to share
information and materials, rarely destroy correspondence from other child pornography
distributors/possessors, conceal such correspondence as they do their sexually explicit material,
and often maintain contact information (e.g. online messaging accounts, email addresses, ete.) of
individuals with whom they have been in contact and who share the same interests in child
pornography.

g. Such individuals prefer not to be without their child pornography for any

prolonged time period. This behavior has been documented by law enforcement officers

 

4 See United States v. Carroll, 750 F.3d 700, 706 (7th Cir. 2014) (concluding that 5-year delay
was not too long because “staleness inquiry must be grounded in an understanding of both the
behavior of child pornography collectors and of modern technology”); see also United States v.
Seiver, 692 F.3d 774 (7th Cir, 2012) (Posner, J.) (collecting cases, e.g., United States v. Allen,
625 F.3d 830, 843 (Sth Cir. 2010); United States v. Richardson, 607 F.3d 357, 370-71 (4th Cir.
2010); United States v. Lewis, 605 F.3d 395, 402 (6th Cir. 2010).
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 26 of 34 PagelD #: 27

involved in the investigation of child pornography throughout the world.

h. Even if the target uses a portable device (such as a mobile phone) to access the
Internet and child pornography, it is more likely than not that evidence of this access will be
found in his home, the SUBJECT PREMISES, as well as in his 2015 Jeep Compass, as set forth
in Attachment A, including on digital devices other than the portable device (for reasons
including the frequency of “backing up” or “synching” mobile phones to computers or other
digital devices).

35, Based on all of the information contained herein, I believe that an internet user residing at
the SUBJECT PREMISES likely displays characteristics common to individuals who access
online child sexual abuse and exploitation material via a website. In particular, the target of
investigation obtained and used Tor network software, found the web address for TARGET
WEBSITE, and accessed online child sexual abuse and exploitation material via the TARGET
WEBSITE.

SPECIFICS OF SEARCH AND SEIZURE OF COMPUTER SYSTEMS
36. As described above and in Attachment B, this application seeks permission to search for
records that might be found on the SUBJECT PREMISES, in whatever form they are found.
One form in which the records are likely to be found is data stored on a computer’s hard drive or
other storage media. Thus, the warrant applied for would authorize the seizure of electronic
storage media or, potentially, the copying of electronically stored information, all under Rule
41(e)Q)(B).
37. [submit that ifa computer or storage medium is found on the SUBJECT PREMISES,
there is probable cause to believe those records referenced above will be stored on that computer

or storage medium, for at least the following reasons:

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 27 of 34 PagelD #: 28

a. Deleted files, or remnants of deleted files, may reside in free space or slack
space—that is, in space on the storage medium that is not currently being used by an active
file—for long periods of time before they are overwritten. In addition, a computer’s operating

system may also keep a record of deleted data in a “swap” or “recovery” file.

b. Based on my knowledge, training, and experience, I know that computer files or
remnants of such files can be recovered months or even years after they have been downloaded
onto a storage medium, deleted, or viewed via the Internet. Electronic files downloaded to a
storage medium can be stored for years at little or no cost. Even when files have been deleted,
they can be recovered months or years later using forensic tools. This is so because when a
person “deletes” a file on a computer, the data contained in the file does not actually disappear;
rather, that data remains on the storage medium until it is overwritten by new data.

Cc. Wholly apart from user-generated files, computer storage media—in particular,
computers’ internal hard drives—contain electronic evidence of how a computer has been used,
what it has been used for, and who has used it. To give a few examples, this forensic evidence
can take the form of operating system configurations, artifacts from operating system or
application operation, file system data structures, and virtual memory “swap” or paging files.
Computer users typically do not erase or delete this evidence, because special software is
typically required for that task. However, it is technically possible to delete this information.

d. Similarly, files that have been viewed via the Internet are sometimes
automatically downloaded into a temporary Internet directory or “cache.”

38. As further described in Attachment B, this application seeks permission to locate not only
computer files that might serve as direct evidence of the crimes described on the warrant, but

also for forensic electronic evidence that establishes how computers were used, the purpose of

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 28 of 34 PagelD #: 29

 

their use, who used them, and when. There is probable cause to believe that this forensic
electronic evidence will be on any storage medium in the SUBJECT PREMISES because:

a. Data on the storage medium can provide evidence of a file that was once on the
storage medium but has since been deleted or edited, or of a deleted portion of a file (such as a
paragraph that has been deleted from a word processing file). Virtual memory paging systems
can leave traces of information on the storage medium that show what tasks and processes were
recently active. Web browsers, emai! programs, and chat programs store configuration
information on the storage medium that can reveal information such as online nicknames and
passwords. Operating systems can record additional information, such as the attachment of
peripherals, the attachment of USB flash storage devices or other external storage media, and the
times the computer was in use. Computer file systems can record information about the dates
files were created and the sequence in which they were created, although this information can
later be falsified.

b. Information stored within a computer and other electronic storage media may
provide crucial evidence of the “who, what, why, when, where, and how” of the criminal conduct
under investigation, thus enabling the United States to establish and prove each element or
alternatively, to exclude the innocent from further suspicion. In my training and experience,
information stored within a computer or storage media (e.¢., registry information,
communications, images and movies, transactional information, records of session times and
durations, Internet history, and anti-virus, spyware, and malware detection programs) can
indicate who has used or controlled the computer or storage media. This “user attribution”
evidence is analogous to the search for “indicia of occupancy” while executing a search warrant

at aresidence. The existence or absence of anti-virus, spyware, and malware detection programs

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 29 of 34 PagelD #: 30

may indicate whether the computer was remotely accessed, thus inculpating or exculpating the
computer owner. Further, computer and storage media activity can indicate how and when the
computer or storage media was accessed or used. For example, computers typically contain
information that logs: computer user account session times and durations, computer activity
associated with user accounts, electronic storage media that connected with the computer, and
the IP addresses through which the computer accessed networks and the Internet. Such
information allows investigators to understand the chronological context of computer or
electronic storage media access, use, and events relating to the crime under investigation.
Additionally, some information stored within a computer or electronic storage media may
provide crucial evidence relating to the physical location of other evidence and the suspect. For
example, images stored on a computer may both show a particular location and have geolocation
information incorporated into its file data. Such file data typically also contains information
indicating when the file or image was created, The existence of such image files, along with
external device connection logs, may also indicate the presence of additional electronic storage
media (e.g., a digital camera or cellular phone with an incorporated camera). The geographic
and timeline information described herein may either inculpate or exculpate the computer user.
Last, information stored within a computer may provide relevant insight into the computer user’s
state of mind as it relates to the offense under investigation. For example, information within the
computer may indicate the owner’s motive and intent to commit a crime (e.g., Internet searches
indicating criminal planning), or consciousness of guilt (e.g¢., running a “wiping” program to
destroy evidence on the computer or password protecting/encrypting such evidence in an effort

to conceal it from law enforcement).

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 30 0f34 PagelD#: 31

c. A person with appropriate familiarity with how a computer works can, after
examining this forensic evidence in its proper context, draw conclusions about how computers
were used, the purpose of their use, who used them, and when.

d. The process of identifying the exact files, blocks, registry entries, logs, or other
forms of forensic evidence on a storage medium that are necessary to draw an accurate
conclusion is a dynamic process. While it is possible to specify in advance the records to be
sought, computer evidence is not always data that can be merely reviewed by a review team and
passed along to investigators. Whether data stored on a computer is evidence may depend on
other information stored on the computer and the application of knowledge about how a
computer behaves. Therefore, contextual information necessary to understand other evidence
also falls within the scope of the warrant.

€, Further, in finding evidence of how a computer was used, the purpose of its use,
who used it, and when, sometimes it is necessary to establish that a particular thing is not present
on a storage medium. For example, the presence or absence of counter-forensic programs or
anti-virus programs (and associated data) may be relevant to establishing the user’s intent.

f. I know that when an individual uses a computer to obtain or access child
pornography, the individual’s computer will generally serve both as an instrumentality for
committing the crime, and also as a storage medium for evidence of the crime. The computer is
an instrumentality of the crime because it is used as a means of committing the criminal offense.
‘The computer is also likely to be a storage medium for evidence of crime. From my training and
experience, | believe that a computer used to commit a crime of this type may contain: data that

is evidence of how the computer was used; data that was sent or received; notes as to how the

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 31 o0f34 PagelD #: 32

criminal conduct was achieved; records of Internet discussions about the crime; and other
records that indicate the nature of the offense.

39. Based upon my training and experience and information relayed to me by agents and
others involved in the forensic examination of computers, I know that computer data can be
stored on a variety of systems and storage devices, including external and internal hard drives,
flash drives, thumb drives, micro SD cards, macro SD cards, DVDs, gaming systems, SIM cards,
cellular phones capable of storage, floppy disks, compact disks, magnetic tapes, memory cards,
memory chips, and online or offsite storage servers maintained by corporations, including but
not limited to “cloud” storage. | also know that during the search of the premises it is not always
possible to search computer equipment and storage devices for data for a number of reasons,
including the following:

a, Searching computer systems is a highly technical process that requires specific
expertise and specialized equipment. There are so many cles of computer hardware and
software in use today that it is impossible to bring to the search website all of the technical
manuals and specialized equipment necessary to conduct a thorough search. In addition, it may
also be necessary to consult with computer personnel who have specific expertise in the type of
computer, software, or operating system that is being searched;

b. Searching computer systems requires the use of precise, scientific procedures
which are designed to maintain the integrity of the evidence and to recover “hidden,” erased,
compressed, encrypted, or password-protected data. Computer hardware and storage devices
may contain “booby traps” that destroy or alter data if certain procedures are not scrupulously
followed. Since computer data is particularly vulnerable to inadvertent or intentional

modification or destruction, a controlled environment, such as a law enforcement laboratory, is

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 32 0f 34 PagelD #: 33

essential to conducting a complete and accurate analysis of the equipment and storage devices
from which the data will be extracted;

c. The volume of data stored on many computer systems and storage devices will
typically be so large that it will be highly impractical to search for data during the execution of
the physical search of the premises; and

d. Computer users can attempt to conceal! data within computer equipment and
storage devices through a number of methods, including the use of innocuous or misleading
filenames and extensions. For example, files with the extension “.jpg” often are image files;
however, a user can easily change the extension to “txt” to conceal the image and make it appear
that the file contains text. Computer users can also attempt to conceal data by using encryption,
which means that a password or device, such as a “dongle” or “keycard,” is necessary to decrypt
the data into readable form. In addition, computer users can conceal data within another
seemingly unrelated and innocuous file in a process called “steganography.” For example, by
using steganography a computer user can conceal text in an image file which cannot be viewed
when the image file is opened. Therefore, a substantial amount of time is necessary to extract
and sort through data that is concealed or encrypted to determine whether it is contraband,
evidence, fruits, or instrumentalities of a crime.

40. Additionally, based upon my training and experience and information relayed to me by
agents and others involved in the forensic examination of computers, T know that routers,
modems, and network equipment used to connect computers to the Internet often provide
valuable evidence of, and are instrumentalities of, a crime. This is equally true of wireless
routers, which create localized networks that allow individuals to connect to the Internet

wirelessly. Though wireless networks may be secured (in that they require an individual to enter
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 33 of 34 PagelD#: 34

an alphanumeric key or password before gaining access to the network) or unsecured (in that an
individual may access the wireless network without a key or password), wireless routers for both
secured and unsecured wireless networks may yield significant evidence of, or serve as
instrumentalities of, a crime—including, for example, serving as the instrument through which
the perpetrator of the Internet-based crime connected to the Internet and, potentially, containing
logging information regarding the time and date of a perpetrator’s network activity as well as
identifying information for the specific device(s) the perpetrator used to access the network.
Moreover, I know that individuals who have set up either a secured or unsecured wireless
network in their residence are often among the primary users of that wireless network.
41. Based on the foregoing, and consistent with Rule 41(e)(2)(B), the warrant I am applying
for would permit seizing, imaging, or otherwise copying storage media that reasonably appear to
contain some or all of the evidence described in the warrant, and would authorize a later review
of the media or information consistent with the warrant. The later review may require
techniques, including but not limited to computer-assisted scans of the entire medium, that might
expose many parts of a hard drive to human inspection in order to determine whether it is
evidence described by the warrant.

CONCLUSION
42, Based on the foregoing, there is probable cause to believe that the federal criminal
statutes cited herein have been violated, and that the contraband, property, evidence, fruits and
instrumentalities of these offenses, more fully described in Attachment B, are located at the
locations described in Attachment A. I respectfully request that this Court issue a search warrant
for the locations described in Attachment A, authorizing the seizure and search of the items

described in Attachment B.

 
Case 1:20-mj-00255-JCN Document 1-1 Filed 09/08/20 Page 34 0f34 PagelD#: 35

43. Lam aware that the recovery of data by a computer forensic analyst takes significant
time; much the way recovery of narcotics must later be forensically evaluated in a lab, digital
evidence will also undergo a similar process. For this reason, the “return” inventory will contain
a list of only the tangible items recovered from the premises. Unless otherwise ordered by the

Court, the return will not include evidence later examined by a forensic analyst.

Aye: aq

Chase Ossinger

 

Special Agent
HSI
Sworn to telephonically and signed
electronically in accordance with the
requirements of Rule 4.1 of the Federal Rules
of Criminal Procedure [
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pare. SEP 08, 2020,
end ‘S$ signamre
City and state: __ Bangor, Maine John cn son U.S. Magisiraie Judge

 

 

Printed name and title
